                      Case 1:25-cv-00511-CRC              Document   47 Filed 07/01/25
                                                           &/(5.=62)),&(                            Page 1 of 1&2
                                                81,7('67$7(6',675,&7&2857                                        5HY
                                                )257+(',675,&72)&2/80%,$

                               127,&(2)'(6,*1$7,212)5(/$7('&,9,/&$6(63(1',1*
                                    ,17+,625$1<27+(581,7('67$7(6&2857

                                                                                                                       25-1933
                                                                                                   &LYLO$FWLRQ1RBBBBBBBBBB
                                                                                                    7REHVXSSOLHGE\WKH&OHUN

127,&(723$57,(6

          3XUVXDQWWR5XOH E  \RXDUHUHTXLUHGWRSUHSDUHDQGVXEPLWWKLVIRUPDWWKHWLPHRIILOLQJDQ\FLYLODFWLRQZKLFKLV
UHODWHGWRDQ\SHQGLQJFDVHVRUZKLFKLQYROYHVWKHVDPHSDUWLHVDQGUHODWHVWRWKHVDPHVXEMHFWPDWWHURIDQ\GLVPLVVHGUHODWHGFDVHV
7KLVIRUPPXVWEHSUHSDUHGLQVXIILFLHQWTXDQWLW\WRSURYLGHRQHFRS\IRUWKH&OHUN=VUHFRUGVRQHFRS\IRU WKH -XGJH WR ZKRP WKH
FDVHVLVDVVLJQHGDQGRQHFRS\IRUHDFKGHIHQGDQWVRWKDW\RXPXVWSUHSDUHFRSLHVIRUDRQHGHIHQGDQWFDVHFRSLHVIRUD WZR
GHIHQGDQWFDVHHWF

127,&(72'()(1'$17

        5XOH E  RIWKLV&RXUWUHTXLUHVWKDW\RXVHUYHXSRQWKHSODLQWLIIDQGILOHZLWK\RXUILUVWUHVSRQVLYHSOHDGLQJRUPRWLRQ
DQ\REMHFWLRQ\RXKDYHWRWKHUHODWHGFDVHGHVLJQDWLRQ

127,&(72$//&2816(/

          5XOH E  RIWKLV&RXUWUHTXLUHVWKDWDVVRRQDVDQDWWRUQH\IRUDSDUW\EHFRPHVDZDUHRIWKHH[LVWHQFHRIDUHODWHGFDVH
RUFDVHVVXFKDWWRUQH\VKDOOLPPHGLDWHO\QRWLI\LQZULWLQJWKH-XGJHVRQZKRVHFDOHQGDUVWKHFDVHVDSSHDUDQGVKDOOVHUYHVXFKQRWLFH
RQFRXQVHOIRUDOORWKHUSDUWLHV
                                                            BBBBBBBBBBBBBBB

7KHSODLQWLIIGHIHQGDQWRUFRXQVHOPXVWFRPSOHWHWKHIROORZLQJ

,        5(/$7,216+,32)1(:&$6(723(1',1*5(/$7('&$6( 6 

          $QHZFDVHLVGHHPHGUHODWHGWRDFDVHSHQGLQJLQWKLVRUDQRWKHU86&RXUWLIWKHQHZFDVH>&KHFNDSSURSULDWHER[ H=V
          EHORZ@

                        D     UHODWHVWRFRPPRQSURSHUW\

                  ✘     E     LQYROYHVFRPPRQLVVXHVRIIDFW

                        F     JURZVRXWRIWKHVDPHHYHQWRUWUDQVDFWLRQ

                        G     LQYROYHVWKHYDOLGLW\RULQIULQJHPHQWRIWKHVDPHSDWHQW

                        H     LVILOHGE\WKHVDPHSURVHOLWLJDQW

        5(/$7,216+,32)1(:&$6(72',60,66('5(/$7('&$6( (6

          $QHZFDVHLVGHHPHGUHODWHGWRDFDVHGLVPLVVHGZLWKRUZLWKRXWSUHMXGLFHLQWKLVRUDQ\RWKHU86&RXUWLIWKHQHZFDVH
          LQYROYHVWKHVDPHSDUWLHVDQGVDPHVXEMHFWPDWWHU

          &KHFNER[LIQHZFDVHLVUHODWHGWRDGLVPLVVHGFDVH

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          &2857 


        &$37,21$1'&$6(180%(52)5(/$7('&$6( (=6 ,)025(5220,61(('3/($6(86(27+(56,'(

           Citizens for Responsibility & Ethics in Wash. Y U.S. DOGE Service                                &$1R 25-511 (CRC)

           7/1/25
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